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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                       DECISION AND ORDER
             v.                                             00-CR-189A

JAMES CHARLES KOPP,

                                 Defendant.




             On January 25, 2007, defendant James Charles Kopp was found

guilty by a jury following trial on both counts of the instant indictment. On January

31, 2007, defendant, who is proceeding pro se, filed a motion asking for the

following relief: (1) a new trial based on a lack of unanimous verdict, or in the

alternative, that the Court resequester the jury until such time that it renders an

“unequivocally unanimous” verdict; (2) that the Court allow defendant to depose

trial jurors 4 and 11; and (3) that the parties be prohibited from making ex parte

contact with any of the jurors. On January 31, 2007, the Court issued a text order

requiring the government to submit a response to defendant’s motion and setting

oral argument on the motion for March 5, 2007.

             On February 6, 2007, defendant filed a “Notice of Appeal” appealing

the verdict. He also requests that he be provided with a transcript of the entire

case and assistance of counsel for his appeal.
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                On February 13, 2007, defendant filed a request for a 60-day

extension to file papers regarding his motion for a new trial. He also reiterates his

request for the trial transcripts.

                Also on February 13, 2007, the government filed a response to

defendant’s motion for a new trial.

                After reviewing the parties’ submissions, the Court: (1) denies

defendant’s request to depose trial jurors 4 and 11; (2) denies defendant’s

request that all parties be prohibited from making ex parte contact with the trial

jurors; (3) denies, without prejudice, defendant’s request for the entire trial

transcript because such request is premature (defendant may renew this request

following sentencing and the entry of judgment); and (4) denies, without

prejudice, defendant’s request for assistance of counsel on his appeal as such

request must be made to the Second Circuit Court of Appeals following

sentencing and the entry of judgment (if defendant wants assistance of counsel

related to his post-trial motion or sentencing, he may file a motion requesting

such relief).

                The Court also grants defendant’s request for an extension of time to

file papers related to his motion for a new trial. Defendant’s papers shall be filed

by May 4, 2007. No further extension shall be granted. The government may file

any response by May 14, 2007. Oral argument on the motion shall be held on

May 17, 2007, at 9:00 a.m. As soon as possible, the government shall order the


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transcripts of all proceedings in this case held on January 24 and 25, 2007,

following the time the jury retired to deliberate, and provide copies of such

transcripts to the defendant.

             The Court reminds the defendant that sentencing in this case is

scheduled for June 19, 2007, at 12:30 p.m., and that the Court has set a

submission schedule regarding sentencing. Absent the Court granting

defendant’s request for a new trial, these dates will not be adjourned or extended

for any reason, other than the Court’s schedule. Thus, defendant should

continue to prepare for sentencing accordingly.

             SO ORDERED.

                                       s/ Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT

DATED: February 14, 2007




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